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11 Turner Entertainment Networks, Inc.
12
                                  UNITED STATES DISTRICT COURT
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                  CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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   TURNER ENTERTAINMENT                           Case No. 2:18-cv-2490 R (ASx)
16 NETWORKS, INC.,
17                   Plaintiff,                   [PROPOSED] ORDER GRANTING
                                                  PLAINTIFF’S APPLICATION TO
18            vs.                                 FILE PRODUCTION SERVICES
                                                  AGREEMENT UNDER SEAL
19 MORGAN SPURLOCK, and
   WARRIOR POETS INC.,                            Judge: Hon. Manuel L. Real
20
           Defendants.
21
22                   Turner Entertainment Networks, Inc. (“TEN”) has filed an application
23 seeking permission to file the Production Services Agreement under seal.
24                   Based on TEN’s application, and good cause appearing for the entry
25 thereof, IT IS HEREBY ORDERED:
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     38251335.1
                          [PROPOSED] ORDER GRANTING PLAINTIFF’S APPLICATION
                          TO FILE PRODUCTION SERVICES AGREEMENT UNDER SEAL
Case 2:18-cv-02490-R-AS Document 9-1 Filed 03/28/18 Page 2 of 2 Page ID #:53




 1                The Production Services Agreement may be filed under seal.
 2
 3 IT IS SO ORDERED.
 4 DATED: March ___, 2018               _________________________________
                                        Hon. Manuel L. Real
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                      [PROPOSED] ORDER GRANTING PLAINTIFF’S APPLICATION
                      TO FILE PRODUCTION SERVICES AGREEMENT UNDER SEAL
